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                                                                                      Shatsky-JD00821-T
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                                 ln the name of Allah, the Gracious, the Merciful
                                                                [Arabic] Palestinian National Authority
      [English] Palestinian National Authority    P.A.
                                                                      Ministry of Social Affairs
          Ministry of Social Affairs
                                                 emblem
                                                                    Families and Injured Care Establishment
              M'sF. & I' C. E


      Date: 8.14.1999

                                                               Allah take care of him
      Brother, General Director of the Establishment' may
      Homeland greetings,

                                                                     Redacted
                                                                                1814[*]
      Re: Ma4vr sufvan Salem Abd Rabbo al-Jabarin [illegible]


      Themartyr[was]single.Hisfathersuffersfrom[illegible]andisinconstantneedof
                                                                of Health, I ask [illegible] the
      treatment. The treatment is not available at the Ministry
                                                               to the attached'
      treatment, which costs 148 shekels a month, according
                                                     With the utmost  aPPreciation'
                                                                                   [Illegible] [signature]


       [Iuegibte]addittotheallowancesofthemonthS/l999,atacostofl48shelrels.
                                                                [signature]
                                                                8.16.99




                                                                          Ramallah - Tel/Fax: XX-XXXXXXX
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Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 2 of 146




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                                                  Date: I l.lg.1999 Signature: lhandwritten]

       Decision of the establishment's director: (
                                                              )




                                                  Date:   _           Signature: lhandwrittenl



      Confirmation of the director general:




      Auditts notes:                     Date                           Signature: [signature]




      Comnuterized notes:                 Date:                                Signature:




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Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 3 of 146




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                               In the Name of Allah,             Merciful, the Compassionate
         Ministry of Social Affairs                                                No.:
          Martyrs'Families and Injured Care                                         Resion: Al-Zahiriva / Hebron


                                                Social Report for the Martyrs' tr'amilies
Full Name: Sufyan Salem Abd Rabbo alJabarin                                     Code name: I
Place and date of birth:. 1970 - Al-Zahiriya                                    Place of origin: Al-Zahiriya
Motherts full name: Sabha Muhammad Mahmoud Subh                                 Marital Status: Single
Education and date: Tawjihi                                                     Occupation: Student
Date and place of martyrdom: Jerusalem,8.22.1995                                Date and number of confirmation letter:
Date of confirmation in the Social Affairs:                                     Monthly Allowance:
Name of first beneficiary: Sabha Muhammad Mahmoud alJabarin                     His ID No:          792t8
Full Add ress : Al-Zahiriy a
Type of residence: The house is owned until now, despite the fact that a court ruling was issued on 1.10.1995 to
demolish it.
Manner of martyrdom: In a martyrdom operation in an Israeli bus inside Jerusalem (Ramat Eshkol
Neighbourhood).
Brief biography:



Recommendation of the Field Researcher:



Date: 10.12.1995                                              Name and signature:
Recommendation of the Social Committee: The martyr [was] single. The two parents and two minor siblings

[illegible]. Transfer it to [illegible].
                                     10.12.95
Date: I         /
Measure to be taken according to regulations: l) [Illegible] payment of 230[*] shekels a month.
                                                                 2) Notify [illegible] of the confirmation\
Datez I        I                                             Name and signature: [signature]
X'urther notes:                                                                                       10.30.95   \
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                    Exhibit 137
                            Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 12 of 146




Palestinian National Authodtr                            [f,mblem of the Palestinian lrlafional Authoritl]           Martlrs'FamiHes and Injurcd Car.e Establishment
                                                                                                                                                          Prinr Date: O5i3l/2O21
Personal Inforpation:
D?;tlRetured?rer1*f                 Four-Part Name: SnSran Salem Abd Rabbo al-Jabarin                  Type of Docrunent: Palestiniau ID
Date of Birth:                      Ministry: Hebrol                                                   Gender: Uuknown


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Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 23 of 146




                    Exhibit 138
Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 24 of 146




          CONFIDTNTIAT                                                                               Shatsky-JD01O58-T




      PATESTINIAN LIBERATION ORGANIZATION                ln the name ot Allah, the
                                                                                       PAI-ESTINIAN LI BERATION ORGANIZATION
                                                              Merciful, the
                                                             Compa5siotrate


      M'SF.&l.c.E.                                            lPLo embleml
                                                                                       Martyrs' Families and tnjured Care tstablishment


          The Establishment / Nablus

          The Brother, The Director General of the Establlshment, May Allah protect him

          Greetlngs of the homeland and the state...

          Case name: Yusef lbrahinr Hasan    Atalla                lte type: Aqsa martvr

          Central number: @!                                       Allowance: 14O0 shekels

          R.quired lction and rcasoning: ** Continue the disbursement because the nrartvr lwaslsinslsand
          the beneficiarv is his mother. She is the sole beneficiarv and she broueht the toss of Life lfertificatel.

          B"r"d on thir. I r".o**.nd to .ontinr" th" dirburr"*"nt. For oout
                                                                                       "tt"ntion.
         Attached documents:

         Name and signature of the departnrent lread:

         Directol'sopinion: *f+*Thereconrmendationistobeconfirmedandvoushouldcontinuetopauthe
         martvr's moiher because he fwasl single and she is the sole beneficiarv and is still alive. In accordanii-
         with repulations. To be followed.

         Date: l!$fQ!Q                       Signature: [sionoturel

         Action of the director Eeneral: Renew the conlirmation and disbursement according to regulations.



         Date: 11.9.2020                                    Signalur e: Isi gn ot u re I

         Main procedures:                                  Name and signature of executor:

         Audit procedures:                                 Name and signature:

         Nablus -Tel/Fax: 09 2385550                                                       Nablus - TellFax: Og 2385550

         Ramallah-Tel/Far 02,2986268                                                       Ramallah-TeUFax: 0Z-2986268

         CONFIDENTIAL                                                                               Shatsky-JDO1058-T
Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 25 of 146




      Confidential                                                               Shatsky-JD01 065-T
                                 In the name of Allah, the Gracious, the Merciful

      [English] Palestinian National Authority                  [Arabic] Palestinian National Authority
                                                    P.A.
          Ministry of Social Affairs                                  Ministry of Social Affairs
                                                  emblem
              M'sF. & I. C. E                                         Families and Injured Care Establishment




                                In the name of Allah, the Gracious, the Merciful




                                                 Social Report

                                                 Case: l\gga ![9ry1                                       l
                                                                                               *



       Name: Yusef Ibrahim Hasan Atalla


       Local number: !!!                                     Central number: lS!


       Governorate: Nablus


       Date: 9.18.2002




       Ramallah - Tel/Fax: XX-XXXXXXX                                     Ramallah - Tel/Fax: XX-XXXXXXX


       Confidential                                                               Shatsky-JD01065-T
Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 26 of 146




              Confideutial                                                              Shatslf-.rD01066-T
              Pal't l: Pelsoual Information
 Local no.: 8,16                                               Central uo.: 13871
 The case's name: Yusef Ibrahim Hasau Atalla                   Code larne:
 Natiolality: Palestinian                                      Identilication no.              ))11
 Benelicialy's full name:                                      Identificatiorr uo. ; l@l
 (r'ift. !&g1, m$s, brother. sisra)
 l\{othePs full name: Wisam Darwish Mutawi Atalla              I\'Iother's Identitication no.: **"t*0548
 }\iife's name:                                                lYife's Identificafion no,:              I
 Place and date of bil'th             1983 Nablus              Place of origiu: Feja i.laffa
 Religion: Muslim                                              Sex: Ir,{ale          }'larJfal stahls: Siugle
 Previous job: Alruninuur rvolker                              Cnn'eut job:
 Education: Secoud glade iu jrufor high
 Date and number of conlir.rnation letter':
 Dale of coulirmaliot in the iustitution:



             Parf 2 : Administrative lufor.mation
 iltilitar-v rank:                                                            Organizational rank:
 Rark confi r'rnation letter:                                                 No.                     Dafe
 Developmeuts in plevious allowance:                                          Curlent:                Changes:
 Organizational alliliatiou : The Poprilar Front                              Sector'
 Date of joining the revolution           Olgauizationally:                   !l{ilitarily     As a fiill,tirne rnember':
 Ttaining coul'ses undeltaken:
 Place ard date of the iucident: B.3l 2002 - The settleruelt of Brakln Nabhrs
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 ururyr was killed by oue of the settlels.
 Bdef Biography: The lnafiy'was bout in Natrlus ou             1983. His origins are iu Feja. iu rhe occupied.Iaffa
 Goveutotate. His fanfly irrluigrated il 1948 and settled in Balata Canry * Nablus. He gneu' up in the camp aucl
 snrdied in its scltools that belonged to the Agency [IINRWA]. He snrclied until fhe secoud
                                                                                                 Etacle ol ju'ior high
 scltool. \\4ten lte left school. he stafied wortiug iu Aluniniuu. He joinecl the popular Frout chuing the Al-Aqsa
 Intifada and his stmggle activify was clattdestine. He rvas urafped on 8.31.2002 chuing a ruartyrdour operafio'
 inside a settlernent uear Nablns.
 The famil.v's lesidence: Orvned: Agency [UNRWA] rurit              Rented:                     Shared:
 ll{onthly rent:
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 Full address:
Neal'est telepbone:
            Coufideutiar                                                                Slnts$-JDO1066-T
Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 27 of 146




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                                                                      fnst. follorvect by the rnures of minor
                  2. lf single. fhe uarnes of tlte parents ale wtinen
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            Mutawi Atalla
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     If man'ied: tlre rvives and lninor children:
     If single: the pnreuts and the minor siblings
     Notes concerning the familY table                                                                               tted.rctcd
                                                                      Ibrahim Hasan Isma'il Atalla
     The accorux rttulber of tlte treueficiaty. rhe rnattyr's father.
                                                              father. Ibrahiur Hasan IsIna'il Atalla
     The accotmt mtrutrer of the beneficiary the umltYr's

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          Confidential
                                                                                     Shatsky-JD01068-T
          The martyr: Yusef Ibrahim Hasan Atalla


          Recommendations of the department:



         and a fire fi9ht broke out between him and the residents
                                                                    of the settlement. As a result. h",,"u,
         killed. along with one of the settlers. and a few were injured.


                                                       Date: 9.18.2002 Signature: fhandwritten]

         Decision of the establishment's director: (
                                                                )




                                                      Date: _        Signature:

         Calculation of the allowance:
Basic        Wife          Children          Father         Mother           Minor siblinss     Total in Dinar



         Other increments:
        Total in dinar:
        Total in shekel:


        Confirmation of the director general:




        Audit's notes:                   Date:10.29.2002              Signature: [signature]




        Comnuterized notes:               Date                                Signature:




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                                                                                   Shatsky-JDO1068-T
Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 29 of 146




          Confidential                                                            Shatsky-JDO1     069-T
                                        In the name of Allah, the Gracious, the Merciful
  PALESTINIAN LIBERATION ORGANIZATION                  IPLO emblem]      PALESTINIAN LIBERATION ORGANIZATION
  M'sF.&I.C.E                                                            Martyrs' Families and Injured Care Establishment




          The Establishment / Nablus


          The brother Gen. Dir. Of the Establishment, may Allah take care of him,
          Greetings of the homeland and the state,


          Case Name: Yusef Ibrahim Hasan Atalla Type: AqSa l4gayf
          Central No.: 846 / 13871 Allowance: 600 shekels
          The required measure and reasons: ** transfer the allowance to the martvr's mother. The
          marfir lwasl single. His allowances were paid fromlliltElto the benefit of his fu
          mother is alive. Thp martyr's father died on 4.20.2006.
                                                                    ** I recommend to write to lltttl
          so that the pavment  will be transferred to the martvr's mother  (Wisarn Darwish Mutawi
           Atalla. ID No.
                            *"o""tuo
                                       0548. He account is in   BatrkM


           Attached Documents: A copy of the birth certificate of the martyr's father + cooy of the ID
           card of the martvr's mother + her account number in        MMI
           Name and signature of the Department's head:                                          lsionntrrrel

           Allo*unce to b. oaid from the ErtablirhmentM
           Opinion of the director:
           ** The recommendation is to be confirmed. The allowance should be transferred to the
           mother because the martyr's father died. The supporting documents afe attached.


           Date: 8. 1 3.2006 Signature of the Establishment's director: lSignaturel
           Measure to be taken by the Director General: Will write to the Develooment Bank and
           transfer the pa:rment in the martvr's mother'name. because of the father's death. startins on
           9.1.2006.


           Datet 8.22.2006 Signature: lSienature]
           Main Measure:                                         Name and signature of the clerk:
           Audit Measurei                                              and signature:




           Nablus - Telffax: 09 2385550                                    Nablus - Tel/Fax: 09 2385550
           Ramallah-Te l/F ax 02 -29 8 6268                                Ramal I ah-Telff ax:. 02 -29 8 6268



           Confidential                                                             Shatsky-JD01069-T
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Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 37 of 146




                    Exhibit 139
                                 Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 38 of 146




Palestinian ),Iational .A,utlnriry                    [Em?:leru of the Palestinian National Authority]          Marlrs' Faurilies and hrjrued Care Establishrnent
                                                                                                                                                            hint Date: 05/-ll/20?1
Personal fnformation:
   a"r6, necaaeoffi                     Fou-Parl Narne: Yusef Ibrahim Hasan Atalla                       Tlpe of Docrunent: Palestinian ID
Date of Birth: [illegible]              Minishl': Nablrrs                                                Gerder: Male
-t
                                             Scale                                             Level          Croup         Start Date          End Date
New Scale for the Families of Martvrs                                                   Unspecified         Uuspecified    Redacted

Increurents and Dedtrctrorrs :

                                                                            Redacte'l




Case Data
      Case Tvpe                      Start Date          End Date                Disabilitv Percentase          Disabilitv Tvpe            Decision Twe
        Marf\ry                                                                            0                     Unspecified

Beneficiaries" Data:



      0548                               clacted                            00                                                      alRortiorunent   Re dacted
               Wisaur Darwish
               Mutawi Atalla                               fercentase                                                          fo
               Name                                     lStart Date [End Date tsanlc                   lBrauch lAccountNo. Kenfral No.
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               Wisaru Darwish lvfutawi Atalcut offl



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                         Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 39 of 146




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palestinian National Authoritl                                                    tvlart-ws ' Farnilies rud Injrued Care Establishrnent




Discontinuation Data


                Last credit                 12101/2020             12i0112020       Infonnation
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                        Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 41 of 146




Palestinian National Authority   [Embtem of the Palestinian National Authorifyl   Martfts" Families and lujrued Care Establishment
                                                                                                                               Print T)nte: 07/11 12021




         Month                   IDNo.                       Name                     Stipend
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                          Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 42 of 146




Palestinian National Autirorill'     [Emblem of the Palestinian Netiond Authority]   Martl'rs' Faurilies and Iniured C'are Establislunent
                                                                                                                                      Prinr Date: 05/31i2021




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        03lt{2021                  0548        Wisam Darwish Mutawi Atalla                 1400
        o4ll/202t                              \tu-isam Darwish Mutarvi Atalla             1400


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                                   Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 45 of 146




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                               Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 46 of 146




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                                 Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 47 of 146




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                 Pal sstinian National Authoritv                                                    ,-'l

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        CONFIDENTIAL                                                                      ShatskyJD0O650-T

        ln the Name of Allah the Beneficent, the Merciful


eALESTINIAN LtBERATtoN ORGAN;ZAT;SN [pLO                 emblemJ PALISTINIAN LIBERATION ORGANIZATION

M'SF.&r.C.E.                                                                 Martyrs' Families and lnjured Care tstablishment




        The tstablishment / Nablus

        The Brother, Deputy Asslstant [of the Dlrector General] of the Establlshment, May Allah
        Protect him

        Greetings of the homeland and the state...



        Case name: Zavnab Ali lsa Abu Salem                    Its type: AqqllglryI

        Central number: 104750                                 Allowance :   Fflilill shsLsb
        Required actlon and rcasoning: +i Continue the disbursement because the martvr was single and the
        beneficiarv is her mother. She is the sole beneficiarv. She broueht the loss of Life lCenificatel and therefore I
        recommend to continue the disbursemenl. For vour attention.

        Attached documents: Loss of Life ICertificatel

        Name and signature of the department head: !!!!g!!!gl

        Directo/s recommendation: The recommendation is to be confirmed. Continue the disbursenrent for the
        benefit of the martvr's mother. as she lthe martvrl was sinele and she [the motherl is the sole beneficiarv and
        is still alive. ln accordance with the resulations. To be followed.

        Date: IILZA?IIII                   signature: ft@,1qgg,l




        Action of the director general: The recommendation is to be confirmed in a[cordance with the
        resulations.



        Date: 11.4.2019                Sisnature'.[9jp!gl
        Main procedures:                                 Name and signature of executor: _

        Audit procedures                                 Name and signature:

        Nablus - TeUFax: 09 2385550                                                       Nablus - Tel/Fax: 09 2385550

        Ramallah-TeUf ax: XX-XXXXXXX                                                      Ra mallah-Tel/Fax : OZ -29A6268


        CONFIDENTIAL                                                                      Shatsky-JDoO65o-T
Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 51 of 146




      Confidential                                                                  Shatsky-JD00659 -T
                                 In the name of Allah, the Gracious, the Merciful

      [English] Palestinian National Authority                  [Arabic] Palestinian National Authority
                                                   P,A.
          Ministry of Social Affairs                                  Ministry of Social Affairs
                                                 emblem
              M'sF.&l.C.E                                          Families and Iqjured Care Establishment




                               In the name of Allah, the Gracious, the Merciful


                                                 Social Report


      Case:@

      Name: Zaynab Ali Abu Salem


      Local number: 1l l5[*]                        Central number:


       Governorate: Nablus


       Date:9.30.2004




       Ramallah - Tel/Fax: XX-XXXXXXX


       Confidential                                                             Shatsky-JD00659-T
Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 52 of 146




               Confidenfial                                                       ShatsLf/-JDoo660-T
               Part l: Personal Iuformatiot
 Local no-                                                                 Central no.
 The case's uame: Zayuab Ali Abn Salem                                     Code name:
 Nationalify: Palestinian                                                  Identilication no. : **"o* 4687
 Beneficiary's full name:
 {Wifc- fatbs. mothrr, brotha. sister)
                                         E@l                               Identilicatiou no.:@@

 lllother''s full name: Sahar Yousnf Abd A-Raluuat Abu Salenr              Mothel's Idenfilicatiou no.: **od 8803
 Wifens name: I                                                            Wife's Identification uo.: 1
 Place and date of lrirth                  1987 * Natrlus                  Place of origin: JalTa
 Religioll; Mnslirn                                                        Sex: Fenrale     *Ialital status. Single
 Previousjob: Student                                                      Cun'ent job: -
 Educalion: High school
 Date and number of confir'mation letter:
 Date of coufilmation in the institution:


              P at't 2: Administlafive         Infolmation
 t'Iililary r'ank: First Sergeant                                          Organizational rank;
 Rank conlirrnation letter:                                                )fo                      Date
 Derelopmetts in prer.ious allowance                                       Current: @               Changes:   @l
 Organizatioual alllliatiou: Fatah 1 Al-Aqsa Malrys Brigades               Sector':
 Date of joining the revolution:         Orgauizationallv:                 I{ilitafily:   As a full-time rnelnbet';
 Tt'aiuing cour'ses undertakrn:


 Place and date of the incldent: 9.?2.20A4 - Westerl .Ierusaleur I French Hill
 Details of tlre incident: She becarue a lllartyl during the pelpetlatioo of a ruartpdoru opelation in the French Hill
 r'Jenrsalen which claimed the lives of several soldiers and severelv ir{ued several people il the eneutv ralks.
 Brief Biography: The hero marlyl r.vas bom ir 1987. She is originally fi'our the occupied city of Jaffh. She prerv
 ttp in Askar Camp iu Nablus ald snrclied il the LINRWA schools rutil she gaduated fiom junior high school. She
 therr studied in a higit school il Nabltts ald graduated successfully nvo ruoD(hs before her rnarqndour. She
 believed in the Al-Aqsa Iltithda aud thoupCrt it was the wa-v to aclfeve fieedout" Her comtratir:e aclivity rvas kept
 secret urrtil slre hecaute a utaltyl'lbr the sake of Jenrsaleur.

 The family's resitleuce: Possessed: Agency fprobably refers ro LtNRwA] mit Rented:            Sfuared:
 Monthly rent:
Full address                                                 Iietiuctetl
l{ealest leleplrone
                       The house
              Confrdettial                                                       Slmtsky-JDffi660-T
Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 53 of 146




                                                                                                        SlmtsL'r-'rD00661-T
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                                              *
                                 FamilY table: tnarried - single
                   lcut offl:
                          l. If ma[ied. the narnes of the wives aud minor chilcken al€ 1l'r'ifiel1 hrst. follo'ived by the
                                                                                       pareuts atld siblittgs.
                             rua'res of aduif childler]. and then tlre uames of the
                          2. If sirrele. the uames of tlte parents ate vi'ritteu fust. follorved by the rrames of urinor
                               siblilgs. aud tlteu adult siblhgs.
                                                             DoB            Edutation       Profession             }\'larital   Address
Stt'ial         Narne                  RelationshiP
                                       to the case                                                                 slatus
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I                Rc'rlacted            Her father
                                                                            school
                                                                            Eler:eutaly     Honse'rr'ife            lr{an*ied   Nablus - [iltegible]
l                Saltar Yousuf Abd      Her urother          r965
                 A-Ralu:ran.Abu                                             school

                 SaleDl
                                                                            Institrlle      Houselr'ife             Manied
                                        Sister
                                                                            diploma
                                                                            3 year          Llnir.ersig             Single
4                                       Sister
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    9                                   Brotlter
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        Notes concer.niDg tlre fNrnill' table:
                                                                                                       Rednctc(l
        Beneficiary's accorutt lulbet: Ali Isa Sa'ad Ablr Salen
        BeueficiatY's accoturl Nuuber: Ali Isa Sa'ad Abu Salell
                                                                                                                   Shatsky-JD00661-T
                      Confidential
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          Confidential                                                                    Shatsky_JD00662_T


          [cut offf of the case and its type: Zaynab Ali Isa Abu Salem, marryr of Aqsa

         Recommendation of the Deoartment:
         * The maWr was born in
                                       1987' Single. Her oarents are alive. She has seven minor siblingr.
          * She became a ma4vr on 9.22.2004
                                             when she executed her heroic maqrrdom ooeration in
         French Hill. Several Deoole from among the enemy ranks have
                                                                     died and several have b""n
         injured as a result ofthe operation.
         * I r""o.'n"nd trut rh" *ill
                                         b"                ur u rnury. of th" Al-Aoru rntifudu.
                                              "onfi*"d
                                                                            Signature: lhandwritten signature]
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         Th" murtJn. ir ringl". sh" b""*" a.aqu. ufter rh" bl"* h". ,"lf up in
                                                                                        J"*rul". on
         9.22.2004.


                                                            Date 10.30.2004 Signature: lhandwritten]

         Calculation of the allowance:
Basic        Wife           Children             Father            Mother         Minor siblinss      Total in Dinar


         Other increments:
        Total in dinar:
        Total in shekels:


        Confirmation of the director seneral:
        llllesiblel




        Auditts notes:                        Date:               Signature [handwritten signature]




        Computerized notes:                    Date:                                Signature:




        Confidential
                                                                                        Shatsky-JD00662-T
Case 1:18-cv-12355-MKV-DCF Document 177-19 Filed 05/16/22 Page 55 of 146




       CONFIDENTIAL                                                                                 Shatsky-jDO0663 T

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       08.12 2012 23:45                                                                      #2071 P. O01

       ln the Name of Allah the Beneficent, the Merciful

                                                             INthENAMEOfAIiAh'th€
    PALESTINIAN LIBFRATION ORGANIZATION                                                 PAI.ISTINIAN LI BERATION ORGANIZATION
                                                                  Me.ciful, the
                                                                 ComPassionat€

                                                                  lPLo esblem:
    M'SF.&l.C.E.                                                                        Martyrs' Families and lnjured Care Establishment



       The Establishment / Nablus

        The Brother, Director General of the Establishment, May Allah Protect him

        Greetings of the homeland and the state...

        {ase name:Z3EL5lLl4Uldg                                            ltstvpe: !!g4y!

        Central nunrber:2!:!5*                                             Allowance:MilE0:bgbgE
                                                   i*
                                                Close the file and lransler the allowance to the mothel-. The martvr was
        Required action and reasoning:
        sinqle and the allowance was eouallv divided between the mothet and the father because there were
                                                                                                                      familv
        disputes at the time. The martvr's father has since died     on 7.30.2012 and therefore  th€ martvr's file is to be
        rlospd and      allnurancp is lo bp :dried to tho filp nt tlrp mertvr's        {Central 1 1557}




        Attached docunrents:

        Nameatrdsignatureofthedepartrlenthead..@
        Di.ector's reconrntendation' The recomnrendation is to be confirmed. Ttre allor.vance is to be fullv tr ansferred
                                                                                                                parents
        to the benefit of the nrartvr's motlrer. because the allowance was equallv divided between the two
                                                                       since died.     reeulations, the allowance should
        {because the martvr was sinelel and the marwr's father     has             Per
        lullv remain and  disbursed  for the benefit of the mother'

        Date: gUL4]lZ                            Signature:Ellgllgi:llgl

        Action of the director general. Thp {ather's allowance shoulcl stop. and the disbursement should be transterred
        fullv to         nrntlrer aq of A 1.2O1 ?-




        Date: LLLAIB                          Signatu.e: &ig!g!4l

        Main procedures:                                          Name and signature of executor:

        Audit procedures:                                         Name and signature:

        Nablus - TeUfax: 09 2385550                                                                  Nablus - Tel/Fax: 09 2385550


        fi amalla h-Tel/f ax : 02-   298628                                                          Ramallah-Tel/Fax: XX-XXXXXXX


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ID Card:
         ****4687                   Foru-Part Narle: Zayuab Ali Isa Abu Saleur Tr,pe of Docunent: Palestidau ID
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                                Abde] ,Jabbar Salem
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          UN]TED STATES DISTRICT COURT
          SOUTHERN DISTRICT OF NEW YORK


        SHABTAI SCOTT SHATSKY,         Case No. 18-Civ. 12355
        individually and as
        personal representative
        of the Estate of Keren         V]RTUAL VIDEOTAPED
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        SHATSKY, individually          JABBAR SALEM
        and as personal
        representative of the
        Estate of Keren
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        SHATSKY, SARA SHATSKY
        TZIMMERMAN, MIRIAM
        SHATSKY, DAVID RAPHAEL
        SHATSKY, GINETTE LANDO
        THALER, individually
        and as personal
        representative of the
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        Thaler, LEOR THALER,
        ZVf THALER, ISAAC
        THALER, HILLEL
        TRATTNER, RONIT
        TRATTNER, ARON S.
        TRATTNER, SHELLEY
        TRATTNER, EFRAT
        TRATTNER, IADASSA
        D]NER, YAEL HILLMAN,
        STEVEN BRAUN, CHANA
        FRIEDMAN, ILAN
        FRIEDMAN, MIRIAM
        FR]EDMAN, YEHIEL
        FR]EDMAN, ZVI FRfEDMAN,
        And BELLA FRTEDMAN,

               Plaintiffs,

               against




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                                Abdel- Jabbar Salem
                                    JuIy 27 ' 202t

    1

    2    THE PALESTINE
         LIBERATION ORGANI ZATION
    3    ANd THE PALESTINIAN
         AUTHORITY (a/U/ a "The
    4    Palestinian Interim
         Self-Government
    5    Authority" andf or 'lThe
         Palestinian National
    6    Authority" ) ,
    7
                Defendants.
    I
    9

   10

   1l_

   l2
   13

   1-4

   15

   L6

   L7

   1-8


   l_9

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   22

   23

   24

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                                   Abde] ,Jabbar Sa]em
                                     ,JuIy 27 , 2021,

        1               VTRTUAL VIDEOTAPED DEPOS]TION OF ABDEL

       2    ,JABBAR SALEM, witness herein,     call_ed by the
       3    Plaintiffs,     for examination, taken pursuant to
       4    the Federal_ Rules of Civil procedure, by and
       5    before Karen A. Nickel, a Certified Realtime
       6    Reporter and a notary public in and for the
     7      Commonwealth of pennsylvania, held remotely
     I      with all parties appearing from their
     9      respective locations, on Tuesday, JuIy 27,
   l_0      202'L, at 7:30 a.m.
   l_1      COUNSEL PRESENT:

   L2
            For the Plaintiffs:
   l_3      Melissa H. Maxman, Esq.
            Ronald F. Wick, Esq. (Admitted pro Hac Vice)
   L4       Cohen & Gresser, LLp
            2001 Pennsylvania Avenue, NW
  t_5       Suite 300
            Washington, DC 20006
  L6
            Stephen M. Sinaiko, Esg
  L7        Cohen & Gresser, LLp
            800 Third Avenue
  t_8       New York, Ny 10022
  t9        For the Defendants:
            Mitchell R. Berger, Esg.
  20        ,Joseph Alonzo, Esq.
            Squire Patton Boggs
  2t        2550 M Street NW
            Washington, DC 20037
  22
            Also Present:     Elizabeth Bezverkha
  23                          Eszter Vincze
                              Corey Wainaina, Videographer
  24                          Hadeer A1 Amiri, fnterpreter
                              Safwan Al-Amin, Check
  25                          Interpreter

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    3      Abdel 'Jabbar Safem
    4           By Ms. Maxman                               6


     5

     6                           EXHIBITS
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           NUMBER
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                           Deposition                      20
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    L9

    20

    2t
    22

    23

    24

     25


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                                    Abde] Jabbar SaLem
                                      JuIy 27, 202L
        1                     PROCEEDINGS
       z                        VfDEOGRAPHER: cood morning,
       3     everyone. We are now on the record.
       4     Participants should be aware that this
       5    proceeding is being record.ed and, as such, all
       6    conversations held will be recorded unless
       7    there is a request, and agreement to go off the
       8    record.
       9                  This is the remote video_recorded
   10       deposition of Abdel .Tabbar Sal_em. Today is
   1l_      Tuesday, ,JuIy 2'7, 202L. The time is now Ll:22
   t2       UTC time.     We are here in   the matter of Shatsky
   1_3      versus PLO.
   L4                     My name is Corey Wainaina, remote
  t_5       video technician on behalf of US Legal Support
  1_6       located at 90 Broad Street, New york, New york.
  l7        f am not related to any party in this action,
  18        nor am I financially interested in the outcome.
  79                    At this time, will the reporter,
  20        Karen Nickel, on behalf of US Legal Support,
  2T        please ent,er the statement for remote
  22        proceedings into the record.
  23                           THE REPORTER: The attorneys
  24        participating in this deposition acknowledge
  25        that I am not physically present in the

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                                    Abde] .fabbar Sa]em
                                      ,JuLY 27 , 2O2t


   1      deposition room and that I will be reporting
   2      this deposition remotelY'
    3                TheY further acknowl-edge that ' in
    4     Lieu of an oath administered in person' Lhe
    5     witness will verbally decfare his testimony in
    6     this matter is under penalty of perjury'
    7                 The Parties and their counsel
    8     consent Lo this arrangement and waive any
    9     objections to this manner of reporting' Please
   t_0    indicate your agreement by stating your name
   11     and your agreemenL on the record'
   L2                     MS. MAXMAN: Melissa Maxman, I

   l-3    agree.
   L4                             MR. BERGER: This is Mitchell

   t_5    Berger on behalf of the Defendants, and I
   L6     agree.
   L7                             (The interpreter was duIY

   18      sworn. )
   L9                   ABDEL .]ABBAR SALEM,      a witness herein,
   20      having been first        dulY sworn' was examined and
    21"    testif ied as f o]lows:
    22                              EXAMINATION

    23     BY MS.     MAXII1AN:

    24             o.      Good morning, or good afternoon'         I

    25     donrt know whaL time it is where You are '

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         1                  Thank you for being here today.      My
         2    name is Melissa Maxman. Irm a part.ner at Cohen
         3    & Gresser, and we represent the plaintiffs        in
         4    this matter.
         5                  Could you please state your name and
         6   address for the record.
         7            A.    Good afternoon. My name is Abde1
         I   'Jabbar Mohammad Sal-em.
       9              O.    And your address?
   l_0                A     My address is
   1_1                O.    And how do you spell your name, sir?
   t2                 A.    How do I    spe1l my name?
   13              O.       Yes.
   74              A.       A-B-D-E-L, J-A-B-B-A-R, S-A-L-E-M.
  15               0.       Thank you     WhaL is your occupation
  L6         and title?
  1_7              A.       I work at.      f work in the financial
  18         ministry.      I work as director of the salary and
  19         f inancial-   in the PalestinJ_an government in
  20         Ramal-lah.
  2'J,             a.      Director of salary and financial,
  22         did I hear that, correctly?
  23              A.       The director of the salary, the
  24         wages.
  25              O.       Okay. Thank you. Have you ever had
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    1     your deposition taken before?
    2          A.      No.

    3             O.  I'm going to be asking you questions
    4     t.hroughout today and tomorrow, and I would like
    5     to go over some ground rules first    so that you
    6     understand the Process.
    7             A.   Yes, maram.
    I           O.   Do You understand that You are
    9     testifying here todaY under oath?
   10           A.   Yes, correct.
   1L           a.   And the court rePorter will be
   1"2    transcribing everything we say. So to make
   l_3    sure that the record is accurate, and
   L4     especially since this deposition is taking
   15     place via video remot.ely because of the COVID
   L5     pandemic, it's important that we not speak over
   L7     each other and that only one person speaks at a
   18     time.
   L9                  So Please wait until   I finish   mY


   20     question before you start answering, and I will
   2L     wait    I will try to wait until you finish
   22     your answer before I ask another quesLion'
   23                Is that understood?
   24          A.     (Witness nodded head affirmaLively' )
   25          O.    I couldnrt hear You, I'm sorrY' I
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                                  Abdel ,Jabbar Salem
                                    'JuLy 27, 2021-

       1   think it's    the audio. He said yes?
     2          A.       Yes.
     3          O.    Thank you. It is also important for
     4     you to respond Lo the questions verbally
     5     because, otherwise, the court reporLer cannot
     6     t.ranscribe what you said. She cannot
     7     transcribe a head nod, yes or no. Is t.hat
     I     understood?
    9           A.       Understood.
   10           O.    Thank you. ff you donrL understand
   1l_     one of my questions, please say so. I wil1 try
   L2      to rephrase it for you if you don'L understand
  L3       it. But if you answer my question, I wi1l
  L4       assume you understood my question; is        that
  15       understood?
  t_6           A.       Understood.
  77           O.    Your counsel- may object to my
  l_8      questions. Unless your counsel instructs you
  L9       not to answer a question, you should go ahead
  20       and answer t,he question even though there is an
  21,      objection pending.
  22                     Do you understand that.?
  23           A.        Understood.
  24            a.    f may take periodic breaks during
  25       the deposition. If you need a break, please

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                                Abdel- ,Jabbar Sa1em
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    1     let me know, me or your attorney know, and f
    2     will do my best to accommodate your request.
    3                   However, if a question is Pending, I
    4     ask that you answer Lhe guestion first       before
    5     we Lake a break. AIt right?
    6          A.       Thank you.
    7                        MS. MAXMAN: Because we are
    I     here remotely during the pandemic, we would ask
    9     that the Defendants confirm that pursuant to
  l-0     Rule 30 (b) (4) of the Federal Rules of Civil
   l_1    Procedure, today's deposition may be taken by
   I2     video conference as we are proceeding, and,
   r_3    pursuant to Rule 29, parties also stipulate
   L4     that Ms. Nickel is an appropriate officer
   t_5    before whom this deposition may be taken even
   L6     though she is in Pennsylvania and the witness
   t7     is physically located in Jordan.
   18                Do we agree, Mr' Berger?
   I9                        MR. BERGER: Yes, we do agree.
   20                        MS. MAXMAN: Thank You.
   2T     BY MS. MAXMAN:
   22          a.    Is there any reason that You can
   23     think of that you will not be abl-e to answer my
   24     questions today fulIy and accurately and
   25     truthfully?

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    1            A.    No, there isn't.
    2          O.    Just so you understand, we are going
    3     to be referring to the Defendants Loday as
    4     the Pal"estinian Authority, I'm going to refer
    5     to as PA, and I will be referring to the
    6     Palestinian Liberat,ion OrganizaLion as pLO.
    7                  Do you understand t.hat?
    I            A.    Yes.
    9            O.    I'm going to start with your
  1_0     personal background, wit.h your educational
  1L      background. What is your highest level of
  T2      education?
  l_3            A.    I have a Bachelor degree in
  1-4     accounting from An-Najah University.
  15           O.     Cou1d you spell the name of your
  T6      University?
  L7             A.    Irm not, that good in English.
  l-8           O.   Okay. You testified that you are
  l_9     the collector of salary wages. Before your
  20      position with -- let me back up.
  2L                   Who is   your employer Loday?
  22             A.    Not the director, the director of
  23      yes.
  24             O.    Okay. Thank you. I misheard.
  25      Thank you.
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                                  Abdel ,fabbar Sa1em
                                    'JuLY 27, 202t

    1                   Who is your emPloYer todaY?
    z           A.      My director is the Minister of
    3      Finance.
    4           O.      That is the Person to whom You
    5      report?
     6          A.      Correct
     7          O.      Yes?

     8                         MR. BERGER: Counsel, I   think
     9     we understood your question'       I think the
   10      Lranslation was who is your boss rather than
   l- l-   for what oYganLzation do You work'
   L2                      MS. MAXMAN: OkaY. Thank You'

   t-3     BY MS. MAXMAN:
   L4           O.      For what organization do you work
   1_5     currentlY?
   T6           A.      The MinistrY of Finance'
   I7            O.     The MinistrY of Finance of what
    18      organrzation?
    L9           A.      The Pal-estinian AuthoritY'
    20           O.    Okay. And when you said you worked
    2T      for -- your boss was the Minister of Finance'
    22      who is that Person?
    23           A.    Shukri Bishara'
    24           O.    Aside from director of salarY' do
    25      you have any other titles with the Palestinian

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                                    Abde] ,Jabbar Salem
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        1   Authority?
        z         A.      No.
        3         a.      Do you hold any other titles      within
       4    the PLO?
       5          A.      No.
       6         O.    And this Shukri Bishara     forgive
       7    me if I'm not pronouncing his name correctly __
       I    is -- give me a second.
       9               your boss, does he hold any
   10       positions with the pl,o?
   l_1           A.       No. Only the Minister of Fj_nance.
   1_2           O.       For the palestinian Authority?
   1_3           A.       Yes.
   T4            O.       And who appointed the Minister of
   15       Finance?
  1_6            A.       I assume the prime Minister.
  77            a.     The prime Minister of the
  18        Palestinian Authority?
  1_9            A.      Yes, correct.
  20             0.      How long have you held your current
  2L        position?
  22             A.      Ten years.
  23             a.      Have you had other positions within
  24        the PA?
  25             A.      Before ten years, I was working in

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                                   Abde] 'Jabbar Salem
                                     JuIy 27, 2021,

    1     the treasury in the same position, Lhe finance
    2     and the Ministry of Finance, and the payment
    3     department.
    4          O.       And before that .- wel-l, how long
    5     were you in that Position?
    6          A.       From 1995 uP until     201-0.

    7          O.       And before 1995, whaL was Your --
    I     what was your emPloYment?
    9          A.   I was not working anYwhere. I was
   10     just graduating from college. And then I
   1_1    joined the Minist,ry of Finance'
   L2          O.    Okay. So since college, You have
   13     been employed by the Pafestinian Authority --
   L4     I'm sorry, fet me rePhrase that.
   l-5                  Since 1-995 when you graduated from
   L6     college, your only employer has been the
   L7     Pal"esLinian Aut.horit.Y?
   18          A.       Correct.
   L9         O.     V{hat are Your current
   20     responsibilities as director of salary for the
   2L     minist.ry of finance?
   22          A.     I work as the general director of
   23     the salaries, of the wages, in the Ministry of
   24     Finance. This includes preparing, collecting
   25     and, up until the distribution of the sal-aries

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                                    AbdeL Jabbar Sa]em
                                       JuLy 27, 202L

       l-   in the PaLest,inian Authority.
     2           O.     And are you the director of the
     3      sal-aries for everyone who works for the
     4      Palestinian Authority?
     5            A.        Yes, correct.
     6            O.     How many people work for the

     7      Pal-est inian Authority?
     8           A.         ft ranges from employees and semi
     9      employees around l-2 0 , 000 workers .
   10             a.        What do you mean by "semi
   11       employees " ?
   1-2                           MR. BERGER: I am going to
   t-3      object to the quest,ion as being outside the
   t4       scope of this jurisdictiona1 discovery
  1_5       deposition.       We have been trying    to give you
  L6        some leeway on background, but the ,Judge's
  t7        admonition is to stick to the predicates of the
  18        jurisdictional      statute.
  L9                        You may answer, but wetre going to
  20        see how this goes.
  21,                           THE WITNESS: When I      say semi
  22        employment, I mean, this means some people who
  t?        work as a contract or temporaty, that work for
  24        a period of time.
  25        BY MS. MAXMAN:


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                                Abde] .fabbar Salem
                                  ,JuIY 27 , 202L

   l_          O.       Do You also oversee PaYments to
   z      prisoners ?
   3           A.     I am responsible for overseeing the
   4      distribution of the payment ' The collection
   5      and these responsibilities are in the prison
   6      affairs.
    1          a.       What are You collecting?
    8          A.    Like, whaL do You mean bY that?
    9          O.    You said -- I believe You said' I am
   L0     responsible for overseeing the distribution of
   11     the payments and the collection' And you said'
   I2     and these responsibilities are in the prison
   13     affairs.
   T4                   And mY quesLion is, what do You mean
   t-5    by 't col Ie cL ion " ?
   t6            A.       f oversee the information' examine
   t7     the information that I receive from the
   t-8    prisoners' affairs, because these are not
   L9      salaries.     These are incentives that are given'
   20                    So I examine them and oversee them'
   2L      And then it gets dist'ributed'
   22                         MR. BERGER: Excuse me'      We


   23      object to the translation' He did noL use the
    24     word 'tincentives" in his comment' "ALlocation"
    25     would be the correct transfation'

                                                                       L6
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         l_                             MS. MAXMAN: Mr. Berger, are
        z         you using a check t.ranslator on your end?
        3                              MR. BERGER: f have an Arabic_
       4          proficient associate listening to the
       5          translat,ion. He is serving as our check
       6          translator.
       7          BY MS. MAXMAN:
       I               O.    Okay. So you ,re saying     l_et me
       9          ask the quest,ion again because f am now
   10             complet,ely confused.
   1l_                          My question is, what do you mean by
   !2             I'coll-ection" ?
   13                  A. By "coIIection, " I mean the
   1_4        informat,ion thaL we get as a CD, and we examine
  t_5         them -- examine the allocations and the
  1_6         department IT before handling it to prisonersl
  T7          affairs to avoid inequality.
  18               O.     You mean you get. it on a compact
  T9          disk, a CD?
  20                                   MR. BERGER: We object to the
  27          transl_at.ion.         The witness did not use the word
  22          "   inequality.        He used the word "d.oubLe
  23          counting. "
  24                                  INTERPRETER: Sorry.    This is
  25          the interpreter.          This is "alaizdiwajia,,, which
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                                 Abdel ,fabbar Sa1em
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    t-    is not double counting.
    2                         MR. BERGER: DuPlication is
    3     our transl-ation.
    4                         MS. MAXMAN: Can we go off the
    5     record for a minute, Please?
    6                         MR. BERGER: CertainlY.
    7                         THE VIDEOGRAPHER: We are now

    I     off the record. The time is 11:50 UTC time'
    9                     (Discussion hel-d off the
  l-0     record. )
   l_1                        THE VIDEOGRAPHER: We are

   L2     back on the record. The time is 1l-:53 UTC
   13     time.
   L4                         MS. MAXMAN: Mr. Berger' can
   t_5    you please identify the associate that is with
   L6     you that is serving as your check translator?
   L7                         MR. BERGER: Yes, I did that
   18     off Lhe record.
   19                         MS. MAXMAN: We cantt hear
   20     you, sir.
   2t                         MR. BERGER: Can You hear me
   22     now?

   23                         MS. MAXMAN: Yes.
   24                         MR. BERGER: I    did that with
   25     the court reporter whife you were off the

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                                  Abdel ,Jabbar Sal_em
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       1   record. His first name is Safwan, S-A-F-W-A-N,
    2      last, name A1 -Amin, A-L, dash, A-M-I-N.
    3                         MS. MAXMAN: Okay. Thank you.
    4                         MR. BERGER: While we are
    5      talking about check translation, and maybe this
    6      will save you some time, but let me put it on
    7      the record, which is that our translation of
    I      the word you are asking about, r'collection,',
    9      was, in fact, more properly transl-at,ed as
   10      rrpreparation. "
   1L                         MS. MAXMAN: Okay. We will
  1"2      leave that for a moment and come back Lo it.
  13       BY MS. MAXMAN:
  1-4           O.      Mr. Salem, you realize you have been
  15       designated as the 30(b) (G) deponent about the
  T6       Pal-estinian Authority and the pLO t.od.ay; d.o you
  t7       understand that?
  l-8                         INTERPRETER: Irm sorry,      this
  l-9      is the interpreter.     Can you repeat the
  20       question?
  2t                          MS. MAXMAN: Sure.
  22       BY MS. MAXMAN:
  z3            O.      Are you aware that you have been
  24       designated as the corporate witness for both
  25       the PA and the pLO Loday?

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     1           A.     Yes, I know that.
     2                          MS. MAXMAN: Can we Please Put
     3     up Tab 1 which, court reporter, I will          be

     4     entering as Exhibit 1- for the record. It is
     5     the 30 (b) (6) deposition not.ice that is dated
     6     ,June 16, 202I, and I will       ask that we scroll
     7     through the exhibit.
     I                          (Deposit.ion Exhibit uo. 1 was
     9     marked for identification.       )


  l_0      BY MS. MAXMAN:
   t_ l_        O.    And my question for the witness is,
   L2      have you seen t.his document before?
   r-3           A.      Yes.
   I4            O.      And what -- when did You first         see

   15      ir?
   1"6           A.      When I met with the aLtorneys.

   L7            O.      When was t,hat?

   t_8           A.      ApproximatelY, a month ago.
   19           O.    And you are appearing todaY as a
   20      witness pursuant to this notice,' correct?
   2T            A.      Correct.
   22            a.      Who designat,ed you, who decided that

   23      you would be t.he designee to Lestify on behalf
   24      of t.he Palestinian Authority?
   25            A.    f received this from the Minister of

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     l_        A.       Yes, correct.
    2          O.       Does the PA make the payment,s to the
    3     prisoners ?
    4                        MR. BERGER: Object to the
    5     form of t.he question. Assumes facts not in
    6     evidence.
    7     BY MS. MAXMAN:
    8          O.       You may answer.
    9          A.       I didn't understand your question.
   r_0         O.     Okay. Does the PA make the payment,s
   11     Lo the prisoners?
   1-2                       MR. BERGER: Same ob j ection t,o
  13      form. You may answer.
  T4                         THE WITNESS: The PA pays the
  t5      al-locations for the families and t.he members of
  1-6     the prisoners, and the PA make the payments,
  T7      all the payments, and part of these payments
  18      goes towards the families of the prisoners.
  1-9     BY MS. MAXMAN:
  20           O.       Where does the PA obtain the funds
  2L      Lo make these payments?
  22           A.       It's the income that the pA receives
  23      from the taxes, from the customs. from the
  24      merchants, from the revenues.
  25                         MS. MAXMAN: I would like to


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    L     documents.
    z          a.      And am I correct that these are
    3     payment records for prisoners, that this is a
    4        that this page, and all of the pages are
    5     records of payments to Prisoners?
    6                       MR. BERGER: Before he
    7     answers, I'rt going to object Lo the form of the
    8     question, buL you may answer.
    9                       THE WITNESS: Yes.   This is
   10     allocation pa)rments for t.his specific prisoner.
   1l_    BY MS. MAXMAN:
   L2          O.    And in this case, the sPecific
   l-3    prisoner is Mohammed Attia Mahmoud Abu Wardeh?
   1-4                       MR. BERGER: We have an
   15     objection to the antecedenL translation. I
   I6     believe he said to the famil-ies of the
   17     prisoners. That is our translation. Ask the
   18     translator if he missed that.
   t9                        INTERPRETER: Irm sorrY, can

   20     you repeat that?
   2L                        MR. BERGER: He mentioned,
   22     according to our translation, families of
   23     prisoners, which you omitted from your
   24     transfaLion.     We objecL to the transfation on

   25     that basis.

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                                    AbdeL ,fabbar Sa1em
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        1                       INTERPRETERT Okay. So it's
        2   the payment for famil_ies of the prisoners.
        3   BY MS. MAXMAN:
     4           O.    And in the case of the page we are
     5      looking at, these wouLd be payment,s to the
     6      famil-ies of Mr. Abu Wardeh?
     7           A.       Yes, correct.
     8                          MS. MAXMAN: Do you have
     9      before you in paper, and, Mr. Berger, I can ask
   10       you Lhis, does he have before him in paper al1
   11       of the Bat.es numbers I menLioned from ,JD 250 to
   I2       ,JD 534?

   r-3                          MR. BERGER: We have them
   1,4      accessible, yes.
   15                           MS. MAXMAN: Okay, great.     f'm
   1-6      going to be asking general questions about t,he
   I7       nature of these documents, and so I was just
   l-8      trying to find a        f was trying to find a page
   1"9      that actually had writing on it rather than
   20       just redact,ions.
   2L       BY MS. MAXMAN:
   22            0.    Am I correct, Mr. Sa1em, that these
   23       records of payments are kept in the normal-
   24       course of business by t.he palestinian
   25       Authority?

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                                Abdel- Jabbar Sal-em
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     1          A.     Yes, of course. It is kePt in the
     2     Ministry of Finance after making the payment on
     3     the monthly basis.
     4          a.    And are they also kept in the normaf
     5     course of business bY t.he PLO?
     6          A.      These documents are prepared for in
     l     t.he prisoners' af f airs and it's   sent to the
     8     Ministry of Finance and kept in the Ministry of
     9     Finance stored on a CD.
   10           O.    Is t.he prisoners' affairs department
   l_ l_   part of the Palestinian AuthoritY?
   L2           A.      I think so.
   t_3          a.      What is the Commission For Prisoners
   L4      and Ex-Prisoners?
   l-5                       MR. BERGER: Excuse me,
   I6      counsel. We understand your question but don't
   1-1     befieve the translation was of the question you
   l-8     asked, which is what is the Commission For
   L9      Prisoners and Ex-Prisoners.
   20                        MS. MAXMAN: That is the
   2L      question I asked.
   22                        MR. BERGER: If we wanL to
   23      retranslate the quesLion, what we heard from
   24      the translation was the word "payments" was put
   25      into the transfation.

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      1                         INTERPRETER: f'm sorry,      this
      2    is the interpreter.       I didn't say commissions.
      3                        MR. BERGER: Right.  I think
      4    maybe there is a misunderstanding on the part
      5    of the transl-ator whet,her t,hese are commission
      6    payments look, we understand what you want
      7    to know, counsel-. We're happy to have him
      I    answer it.     You want to know what is       the entity
      9    wit.hin Lhe Palestinian government called the
   10      Commission of Pri-soners and Ex-prisoners. I'm
   t- l_   happy to have him answer that question.
   L2                          MS. MAXMAN: Okay. Just to be
   13      cl-ear, I have it as Lhe Commission For
   1-4     Prisoners and Ex-Prisoners, but if it's the
   15      Commission of Prisoners and Ex-prisoners, I
   I6      would be happy to
   1-7                         MR. BERGER: I am happy to
   18      st,and corrected.
   t9                          INTERPRETER: Sorry, can you
   20      repeat the question?
   2L      BY MS. MAXMAN:
   22           O.      What is   the Commission For prisoners
   23      and Ex-Pri-soners?
   24                          INTERPRETER: This is
   25      interpreter.     When you say commission --


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    1                       THE WITNESS: It   is the
    2     prisoners' affairs dePartment '
    3     BY MS. MAXMAN:
    4           O.   Okay. So that's the same prisonersl
    5     affairs department that's part of the
    6     Pafestinian Authority that you have been
    7     referring to earl-ier in this deposition?
     I          A.   The finance for it is Part of the
     9    general finance from the Palestinian Authority
   1_0     and does the allocation for the prisoners '
   t1"           O.   Let me clarifY mY question' You
   L2      have previously been -- strike that'
   13      Previously, you ment'ioned the prisonersl
    L4     affairs department within the PA' Is that same
    t-5    t.hing as the Commission For Prisoners and
    L6     Ex- Prisoners?

    T7          A.     Correct.
    18          O.    Thank You' So going forward' I am

    L9     going to refer to the Commission For Prisoners
    20     and Ex-Prisoners as the prisoners' affairs
    21-     department. Can You
    22          A.     It is its name, the name is the
    23      Commission For The Prisoners and Ex-Prisoners '
     24         O.     Okay. But for shorthand' Irm going
     25     tocallittheprisoners'affairsl'mgoing

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         1    to call it prisoners, affairs.
         2         A.    Okay, prisonersr affairs.
         3         O.    Does prisoners' affairs make
         4    payments t,o certain prisoners and ex_prisoners?
         5         A.    Can you repeat the question? I
         6    didn't understand it.
         7         a.    What is    strike that.
         8               Does prisoners' affairs make
        9    payments t,o certain prisoners and ex-prisoners?
    10             A.   No. It's prepared in the prisoners,
   1l_       affairs, and iL's distributed through the
   1_2       Ministry of Finance.
   l_3            O.     Okay. And that's your department?
   I4             A.     fn the general department that is
   l_5       examined in the fT department, and it,s
   L6        distributed at the end of the month.
   77             O.    And it's distributed at the end of
   18        the month by the Ministry of Finance?
   1_9            A.    Yes, correct.
   20                         MS. MAXMAN: f,m going to take
   2L        a five-minute break, just a comfort break, and
   22        then we'll_ go to another topic.
   23                         MR. BERGER: Sounds good to
  24         us. Thank you.
  25                          THE VIDEOGRAPI{ER: We are now


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                                       Abde1 ,Jabbar Sa1em
                                         JuIy 27, 2O2t

    1     off the record.. The time is 12234 UTC time'
    z                      (Discussion held off the
    3     record. )
    4                             THE VIDEOGRAPHER:           We are

    5     back on the record.            The Lime is     L2   45 UTC

    6     t.ime.
    7     BY MS.        MAXMAN:

    I              O.       As of APriI 18, 2020, who was the
     9    head of the prisoners' affairs ?
   10              A.       The PA.
   t_1             a.       f mean who is Lhe individuaf who
   L2      heads

   t-3             A.       Qadri Abu Bakr.
   L4           O.          Does Mr. Bakr have any other titles
   15      within the PA?
   l_6          A.    No.         He   is the head of the director
    L1     of t.he prisoners' affairs.
    t-8            o.       Does he have any other titles          within
    t-9    the PLO?
    20             A.        I don't Lhink so.
    2L             O.        Who decides the reciPients                strike
    22     that.
    23                       V,lho decides what Prisoners and

    24     ex-prisoners are Paid?
    25                             MR. BERGER: Objection.

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                                        Abdel- ,fabbar SaLem
                                          JuLy 27, 202L

         1    Counsel, can we have an agreement that your
         2    question is as of and afLer April 1g, 2O2O?
        3                          MS. MAXMAN: yes.
        4                          THE I{ITNESS: It's     the
        5     prisoners' affairs within the palestinian 1aw.
        6     BY MS. MAXMAN:
        7          O.        Within Pal-estinian Law?
        I          A.        The l-aw for the prisoners' affairs
        9    and ex-prisoners.
   10              O.        Are you referring --
   11                             MS.   MAXMAN: Can we put up Tab
   L2        24, Elizabeth.
   l_3                             (Deposition Exhibit No. 3 was
   !4        marked for identification.        )

   l_5                            MS. MAXMAN: I'm going to
   1_6       represent for the record that this is a copy of
   1"7       an English t.ranslation of Lhe prisoners and
   18        Ex-Prisoners Law No. l_9 of 2004. I do not have
   1_9       a copy in -- wait.         Maybe I do have a copy in
   20        Arabic.
   21-                   Actual1y, Elizabeth, if you scroll
   22        back to t.he end of this document, we d.o have
   23        the l-aw in Arabic. Could you      I r l-1 tell_ when
  24         you to stop. Okay, great. Okay. That's
  25         perfect,.

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                                    Abdel- Jabbar Safem
                                      JuLY 27, 2O2I

    t-     affairs, and there is internal monitoring as
    z      well.
    3              o.      And when You say "general legal
    4      affairs, " you mean general legal affairs within
    5      Lhe PA?
    6              A.       Who would be the prisoners'    affairs
     7     staff.
     8              O.      The plisoners' affairs lawYers?
     9              A. Yes, and it is an imPortant
   l_0     department. within the Prisoners' affairs,         and

   l- l-   t.hey are the decision-making'
   L2               O.      To whom does Mr. Qadri Abu Bakr
   l-3     report?
   t4                             THE INTERPRETER: This is the

    1"5     inLerpreter, I will repeat the question'
    L6                      THE WITNESS: I assume I

    L7      assume the Prime Minister because he has the
    18      level of a minister.
    L9      BY MS. MAXMAN:
    20           a.    As of APriI 18, 2O2O through the
    a1      present time, who or what determines the size
    22      of the prisoners' affairs operaLing budget?
     23          A.    The general budget for the PA based
     24     on the needs for a1l- the ministries '
     25              O.      Who sets that budget?

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                                       ,JuIy 27 , 202l-

         1         A.       The Ministry of Finance in
        z     collaboration with all the ministries.
        3           O.    As of April 18, 2020 Lhrough today,
        4     what are t,he programs that the prisoners,
        5     affairs     that prisoners' affairs administers?
        6          A.      What programs are you referring to?
        7     I don't know about that.
        I         O.    Any programs administered by the
        9    prisoners' affairs office.
   10             A.       I don't know. I don't know about,
   1l-       that. And this is somet.hing that the
   12        prisoners' affairs knows about. I don,t know
   l_3       about Lhis.
   I4              O.   What does the prisonersr affairs
   15        office do?
   t6             A.       ft is composed of multiple
   L7        departments l_ike any ministry or any
   18        organization, starts from the minister and the
   19        deputy minister, the general affairs,         the lega1
   20        affairs department, which is __ which has a
   zt        main ro1e, and the financial affairs.  ft is
   22        multiple leve1s where it organizes and performs
  23         the affairs of this organization.
  24               O.    What purpose does the prisoners'
  25         affairs office serve?

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                                  Abdel .Iabbar Salem
                                    ,JuLy 27, 202L

    1                         MR. BERGER: Objection. This
    2     is outside the scope of both your notice and of
    3     jurisdictional- discovery, but the witness may
    4     answer to the extent of his knowledge.
    5                         THE WITNESS: The prisonersl

    6     affairs welcomes the relatives and the families
    7     of the prisoners, collect these documents, and
    8      inspect these documenLs, and they have branches
    9      in all the cities of the count.ry. And once
   r_0     they welcome the families, inspect Lhe papers,
   L1     and make sure they are accurate, they will
   1"2    direct them and send them, organize and send
   l_3     t,hem to the Ministry    of Finance.
   1-4    BY MS. MAXMAN:
   15           O.       So the prisoner affairs office
   L6      determines whether certain prisoners are
   1-7     entit.Ied to monthly salaries?
   18                          MR. BERGER: Object to the
   t9      form of the question.
   20                          We need a translation here.

   2L      Hang on.
   22                          MS. MAXMAN: Hadeer, are you
   23      going to Lransl-ate? Hadeer, are you there? We
   24      better go off the record for a moment.
   25                          THE VIDEOGRAPHER: We are now


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                                   Abdel- ,Jabbar Sa1em
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    1     off the record. The time is 13:08 UTC time.
    2                           (Discussion held off the
    3     record. )
    4                           THE VIDEOGRAPHER: We are

    5     back on Lhe record. The time is 13:10 UTC
    6     time.
    7     BY MS. MAXMAN:
    I          O.    Who determines whether an individual
    9     prisoner is entitled to a month1y salary?
   10                           MR. BERGER: Object to the
   11     form of the question. You may answer.
   12                           THE WITNESS: The legal
   13     department, after studying the papers, decides
   l4     whether the family of this prisoner is eligible
   l-5    for the assistance or not.
   1-6    BY MS. MAXMAN:
   I7          O.    And by the legal department, you
   18     mean the legaI department of prisonersl
   19     affairs ?
   20             A.      Yes, correct.
   2L             a.      And when the prisoners' affairs
   22     1egal department determines t.hat the family or
   23     the designee of a prisoner is entitled to
   24     payment, they -- what do they do to ensure thaL
   25     payment is made?

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                                  ,JuIy 27, 202L

    1          A.     After approving the payment/ and
    2     after seeing that it's eligible according to
    3     the faws and regulations, they will inc1ude
    4     this entitlement within the CD for Lhe families
    5     of the prisoners.
    6          O.    And then the Ministry of Finance
    ,7
          makes the PaYmenLs?
    I           A.     Yes.

    9          a.    Who delermines what amount each

   1-0    prisoner or prisonerrs family receives?
   11          A.    It's according to the scale of
   L2      sal-aries within the prisoners' affairs, and
   t_3     what really determines the amount is the
   l4      duration, the actual duration of the presence
   15      of the prisoner in Prison.
   16           O.    Who sets the scale?

   L1           A.    The scale is within the main law of
   18      the prisoners' affairs.
   L9           O.    Are some prisoners also Palestinian
   20      Authority officers in security forces?
   21                       MR. BERGER: Object to the
   22      form of the question. It's    outside Lhe scope
   23      of the 30 (b) (5) notice and of the scope of
    24     jurisdictional discovery, but the witness may
    25     answer to the exLent of his personal knowledge

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                                    Abde] ,fabbar Sal-em
                                      ,July 27 , 202!

        t_   exceeds of the not,ice. Under Federal Rule of
        2    Civil Procedure 30(c) (2), I instruct him not, to
        3    answer.
        4                       MS. MAXMAN: Let's go off the
        5    record for a minut,e. We may need to cal-I the
        6    ,Judge.

        7                       MR. BERGER: Fine.
     8                          THE VIDEOGRAPHER: We are now
     9       off the record. The time is l_3:25 UTC.
   t_0                           (Discussion hel-d off the
   1t_       record. )
   1_2                          (Deposition Exhibit Uo. 4 was
   L3        marked for identification.     )


   T4                           THE VIDEOGRAPHER:            We are
   l-5       back on the record.      The time is      i_3   29 UTC
   L6        time.
   77                           MS. MAXMAN: I have displayed
   18        what, is going to be entered into the record as
   19        Exhibit 3, are we on, Madam Court Reporter?
   20                           THE COURT REPORTER: I          believe
   2L        this will- be 4.
   22                           MS. MAXMAN: Okay. Thank you.
   23        Which is a series of documents Bates numbered
   24        JD 00259 through 256. And, actualIy,
   25        Elizabeth, I beg your pardon, can you move to

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                                 Abdel- Jabbar Safem
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    1     the very last page of this exhibit, and then
    z     enlarge it.
    3     BY MS. MAXMAN:
    4           a.       MY question to the witness is,     do

    5     you recogntze this document?
    6           A.   Let me see. Yes, I have the
    7     document in front of me. I saw it '
    8          O.    OkaY' What is this document?
    9          A.    This is the allocation of -- monthly
   t_0     allocation.
   11           O.    Do You see at the toP of the Page it

   L2      says, prisoner salarY statement?
   1_3          A.    It is the allocation for the
   t4      prisoner, because iL comes from the IT, and the
   l-5     general department and the finance department '
   L6      It is not the salary. It is the allocation for
   1-7     the prisonerrs familY.
   L8           O.    What does that mean?
    L9          A.    It's a document for the monthlY
    20     allocation for the prisoner's family by t'he
    2L     name of Norah.
    zz          a.       You are saying the prisonerls name
    23     is Norah?
    24          A.       The Prisoner is Mohammed Attia
    25     Mahmoud Abu Wardeh, but Norah is one of his


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        1   family members LhaL has authorizat,ion to
        2   receive the all_ocation.
        3        O.   And am f correct Lhat this is
        4   Prisoner No. 9460?
        5        A.       As far as I seer !es, correct,.
        6        a.       Is each prisoner assigned a number?
        7        A.       I think so.
        8        O.       There is another number at the top
        9   of each page, 901-065359. What does that mean?
   10            A.       It's the fD number.
   1t_           O.       For the prisoner?
   L2            A.       Yes, correct.
   l_3           O.       Where did Lhis document come from?
   1-4                         THE INTERPRETER: This is the
   l_5      interpret,er speaking. The response to the
   1_6      question is, it,s the identification number for
   T7       each individual.
   18                    This is the interpreter.         When you
   t9       said "this document, " you mean Lhis document or
   20       the identificat.ion number for the prisoner,
   2L       maram?

   zz                          MS. MAXMAN: f mean Lhe ent,ire
   23       document.
   24                          THE WITNESS: This document in
   25       front, of us is originated from the IT

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                                    Abdel .fabbar Salem
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    1     department, from the Minister of Finance'
    z     BY MS. MAXMAN:
    3          O.    And on that    on Page 266 that we
    4     were looking at, does this detaiL payments made
    5     to Abu Wardeh's relative, Norah?
    6           A.       Correct.
    7           O.       And the numbers down the right-hand
    I     side under where it says salary, what
    9     denomination of moneY is that?
   t-0          A.    It is the monthly al-locaLion for the
   11      prisoner's family in Israe1i shekel currency'
   L2           0.    Are al-l of these documents kept in
   r_3     fsraeli    shekel-s?
   l4           A.    Correct. The currency that is used
   15      in the salaries and the al]ocations is the
   L6      Israef i shekel-.
   L7           O.       V{ho is Mohammed Attia Mahmoud Abu

   18      V{ardeh?

   L9           A.       He is the Prisoner'
   20           a.    OkaY. Now, if You go back      if we
   2L      can scroll back, ElizabeLh, through earl-ier
   22      pages.
    z5                   And mY question is, all of these
    24     rows have been redacted or blacked out.        Do you

    z5     see that?

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        1        A.       yes, I see it.
        z        a.       If these rows were not, blacked out,
        3   what woul-d be there?
     4                         MR. BERGER: Objection. The
     5      witness may answer as Lo the type of
     6      information found under those co1umns, but, not
     7      specific information found in those columns.
     8                         MS. MAXMAN: That's my
     9      question.
   10                          THE WITNESS: ft's    the          the
   11       information that was hidden, it's      the personal
   L2       information for the beneficiary, which is a
   r_3      list of the informat,ion that was that the
   1-4      accounting, the account number for the
   l_5      beneficiary.
   1_6      BY MS. MAXMAN:
   I7            a.      That's true for al_l- of these pages?
   18            A.      The information which is hidden is
   T9       in regards to personal information.
   20             0.    Who is Norah Bernan Andin ,Jabry?
   2L             A.    Let me go back to see the
   22       relationship. Norah is the wife of the
   23       prisoner Mohammed Abu Wardeh.
   24            a.      And the numbers next to her name
   25       90704499, is that her identification         time?

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    l_             A          Yes, t.his is the ID number for
    2         Norah.
    3              o      OkaY. And Lhen can we scroll back
    4         t.o Lhe Iast page again, Elizabet'h' Right
    5         there.
     6                        There is a column entitled salarY'
     7        Do you see that?
     8             A.         Yes.

     9             O.          Whose salarY is   it?   fs it   Abu

   l_0        Wardeh's salarY?
   l_1             A.    This is t'he allocation for the
   L2         family of the prisoner Abu Wardeh' This is the
   l_3        allocation for his familY'
    L4             O.    And I think You said it's Paid at
    t_5        the end of everY month?
    T6              A.    It's paid- with the payment of the
    T7         safaries and the wages at the end of each
    18         month.

    1,9                O.      And is it' paid by wire transfer into
     20        Norah's account?
     2L                A. Yes. The names in the CDs' Lhe
     22        allocation is wire transferred to the
     23        beneficiary families of the prisoners in their
     24        bank accounts.
         25             O.      And on the left-hand side            Irm

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                                     Abdel .Tabbar Sal_em
                                       JuIy 27, 2O2I
          1    sorry - - on the f ar right, t.here appears to be
          2    a month and a year. rs that the month and the
          3    year that each payment was made?
         4          A.    yes, correct. This is a document.
         5     with the allocations starting with the month of
         6     the year.
         7          O.     So am I understanding correctl_y that
         8     this document shows Ms. Norah,s monthly salary
         9    as Mr. Abu Wardeh's beneficiary from April         2020
    i_0       through May of 202L?
    l_1             A.     Thie io correct.
    1,2             O.     As of today, July of 2021_, does
    l_3       Mr. Abu Wardeh continue t,o receive a salary
   t4         paid to Ms. Norah?
   15              A.     I can see the payment up until May,
   t6         and I don't, have any knowledge after that
   1_7        because I don't have an insight on the salary
   l_8        quarter      and this is inspected at the end of
   l_9        Lhe month after bringing the documents for the
   20         prisoners all_ocations .
   21_                         MS. MAXMAN: f rm going take a
  22          quick comfort break, or can we take a quick
  23          comfort break. And then, Elizabeth, I,m going
  24          to go to Tab 9 next.
  25                           MR. BERGER: Five minut,es.

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                                         ,JuLy 27, 2O2t

    L                           THE VIDEOGRAPHER: We are now

    2     off the record. The time is 1-3:47 UTC time'
    3                     (Discussion held off the
    4     record. )
    5                           THE VIDEOGRAPHER: We are

    6     back on t.he record.           The time is 1-3:58 UTC
    7      time.
    8                           MS. MAXMAN: We1come back,
    9      everyone. On the screen we have what I will
   r_0     ask the courL reporter to mark as Exhibit 5 '
   1L                            (Oeposition Exhibit Xo' 5 was
   L2      marked for identification.          )


   1_3     BY MS. MAXMAN:
   L4              O.      For the record, it's       Bates No.
   15      Shatsky JD 0l-110 through ,JD 01-142, and it
   L6      contains both the original which we are looking
   L7      at and the version that's translated into
   18      English, which has the same Bates numbers with
    L9     a T at the end.
    20                     My f irst    question t.o the witness is,
    2L     do you recognize this document?
    zz             A  Yes. Yes, I have seen this document
    23     when I was preparing for the
    24          a     Preparing, I coul-dnrt hear You, sir?
    25             A       While I was preparing the documents.

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                                        Abdel ,fabbar Sa]em
                                          'JuLy 27 , 202L

        l_        O.    Okay. What is it?
     z            A.    This is the document for the
     3       prisoner Mohammed At.tia Mahmoud Abu Wardeh that
     4       is a person in the objective of the prisoners'
     5       affairs.
     6            O.    Does it appear to be the same
     7       prisoner that, we were talking about with the
     8       payment records that is Abu Wardeh?
     9            A.        Yes, it's    obvious that it's     the same
   r-0       prisoner.
   l_1           a.    Okay. LeL's take a look at this
   I2        cover sheet. It says, Ministry of Detainees
   13        and Ex-Detainees' Affairs.          Is that prisonersl
   I4        affairs,    is that the same entity we have been
   t_5       talking about?
   L6             A.       Yes, it's
                                   the same name.
   1-7            O.   And it says, general administration
   18        for administ.rative and. financial affairs.
   1_9                     Do you see that?
   20             A.       That is correct.
   2I             O.       Why is   that administration listed?
   22             A.       This is the added department, which
   23        belongs to the Department of administrative and
   24        financial that is part of the prisoners'
   25        affairs. This document will be added later on.

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                                Abde1 .Tabbar Salem
                                  JULY 27, 202L

    l"          O.     WhY while it   be added to later   on?

    2           A.    It will be saved and updated and to
    3      have a copy and saved in the prisonersl
    4      affairs.
    5           O.    But right now it's in administrative
     6     and financial affairs?
     7          A.    No. ft's stil1 in the Prisoners'
     8     affairs in a deparLment called the
     9     administraLive and' financial department that is
   10      part of the Prisoners' affairs '
   t- l-        O.    Okay. So this is not the financial
   I2      department where You are emPloYed?
   13            A.   No. This is in the financial
   14      affairs, but we don't have it in the financial
   1_5     department.
    1"6         O.    Just so I'm clear, You work for the
    1"7    finance ministrY?
    t-8         A.    Yes -- Yes, correct, I work in the
    L9     finance ministry, and I am responsible or I am
    20      the director/manager for the salaries in the
    21-     Palestinian AuthoritY.
    22           O.     But this documenL is a document from
    23      prisoners' affairs but it's a subdepartment of
    24      prisoners -- prisoners' affairs entitl-ed
     25     Ad.ministrative and Financial Affairs for

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                                          Abdel ,fabbar Sal_em
                                            JuIy 27, 202i.
         l_    Prisoners' Affairs?
         2          A.    yes, correct.
         3             a.       What does t,he No. 3203 mean on this
        4      page?

        5           A.    f think this number bel_ongs to the
        6      prisoners' affairs. I think it's a number for
        7     arrangement of this document when it,'s added to
        8     be easy to find this document.
        9                            MS. MAXMAN: Okay. Now,
   1_0        Eli-zabeth, can you scroII down to the next
   11         page. And I am going to be addressing my next
   L2         questions to t,he next four pages. So I don,t
   13         know how we want to handle that.
   1_4                          Mr. Berger, do you have a paper copy
   15         of this?
   I6                                MR. BERGER: He has a paper
   1_7        copy of what I believe is the entire prisoner,s
   l-8        file that contains the Bates numbers you're
   L9         talking about, in Arabic, though.
   20                                MS. MAXMAN: Okay. That,'s
   2L         f ine.    I just want to make sure we're on t,he
   22         same page, as it        were.
   23         BY MS. MAXMAN:
  24                   O.      What are these documents being 11_1
  25          through l-11_5?

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                                   Abdel- ,Jabbar Salem
                                      JuLy 27, 2O2t

    1             A. This is a document produced by the
    2     Red Cross that documents that the prisoner is
    3     present and himseLf and present to dispense the
    4     a1l-ocations for the family.
    5           a.    So this is a documenL from the Red
    6      Cross proving that the prisoner is in prison?
    7             A.      Yes, correct.
    I           O.    Okay. On t,hese documents it says
    9      do you see where it says ID No. 90106535-9?
   10             A.      Yes, correct.
   11           O.    Is that the same number -- we11, we
   L2      have already determined that this is t,he same
   13      person. Never mind.
   1-4                    And this document saYs that Mr. Abu
   1_5     Wardeh was arrested by the Israeliauthorities
   I6      on February 2002; correcL? I beg your pardon,
   1-7     it's   on November 4, 2002.
   18             A.      Yes, correct.     Itrs an Arabic
   L9      version, and the yeIlow portion of the document
   20      says he was deLained on the Day 4, Month 11,
   2L      2002. And he is sentenced.
   22          O.    And he is sentenced to a life
   23      sentence?
   24             A.      Yes, as it's    documented in this
   25      document.


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                                  Abdel Jabbar SaLem
                                    ,Iuly 27, 2021

     1-        O.    Does the Pal-estinian Authority rely
    2     on this document in its decision to make
     3    payments to Mr. Abu Wardeh's designee?
    4            A.      This is decided by the prisonersl
    5     affairs, but it,'s a legal official       document
    6     that. is count,ed upon it.
    7           O.       Okay. So prisoners' affairs relies
    8     on it?
    9            A.      I think so.
   10          O.    And on Page 1111, Lhere is a
   Lt_    signature and a date; do you see that'? Who
   L2     signed this?
   t_3                         MR. BERGER: I apologize.
   I4     There appear to be two set.s of handwriting. Is
   t_5    there one in part.icul-ar you are directing him
   t6     to?
   1-7                         MS. MAXMAN: I'm looking at
   18     Lhe one that is dated L0/1,4.
   19                          THE WITNESS: This is an
   20     internal affairs that belongs to Lhe prisonersl
   2t     affairs that I don't know about, buL I think
   22     it's   one of the attorneys.
   23     BY MS. MAXMAN:
   24          O.    Why would an attorney or an employee
   25     of the prisoners' affairs be reviewing this

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                                      Abdel 'Jabbar Salem
                                        'JuLy 27, 2021

    1     speaking about that, was established before the
    2     PA establishment.
    3     BY MS. MAX}IAN:
    4         O.     And so that is whY it used to be
    5     under the PLO,' correct?
    6         A.     I think so.
    7          O.    When was it moved f rom t'he PLO to

    8     the Ministry of Finance of the PA?
    9                            MR. BERGER: Objection go

   1-0     ahead.
   1l-                           (The question was Lranslated' )

   L2                            MR. BERGER: HoId on.

   13      Objection, it's       outside the scope of this
   L4      designation. You wil-l have two days on the
   1-5     martyrs at the end of the week, buL the witness
   L6      may answer to the extent of his personal

    L7     knowledge.
    18                           THE WITNESS: I      don'L have
    L9     I don't have any knowledge about that'
    20     BY MS. MAXMAN:
    2L              O.      V[hy is   this particular prisoner' Abu
    22     Vilardeh, eligiblefor PaYments?
    23          A.    This is decid'ed or deLermined by the
    24     prisoners' affairs based on the rules and
    25     regulations and the laws that is used to

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                                       Abdel Jabbar Salem
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         1    determine eligibility.   But I think that he is
         2    eligible for the a]rocation based on t,hat he is
         3    still in prison, and it's decided by the
        4     prisoners' affairs.
        5          O.      Just looking forward on l_13       1113
        6     and 1l-14 and 1l_t_5, it appears t,hat all three of
        7     those also have cerLified updates. Are those
        8     the updates that are necessary on a periodic
        9    basis to continue to get payments?
   10              A.    I think so. And this i_s one of the
   1t-       requircments for the pr.isoners and
   72        ex-prisoners' affairs to be updated and to be
   l_3       used f or continuous allocation pa)ments.
   I4              O.      I will turn your at,tention to Bates
   l_5       No. 1,L1-7. And in the middle of the page, it
   1_6       appears to say that the authorized beneficiary
   l7        is Norah, his wife; am f correct?
   18            A.     yes. Document l_i_l_7 shows t,hat the
   79        beneficiary to receive Lhe allocation is Norah
   20        Ibrahim Ben-Cam Abu Wardeh, and the
   27        relationship is the wife.
   zz             O.    And that is the same Norah that we
  23         saw on the payment records is receiving the
  24         payments; correct,?
  25              A.      yes, correct.

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                                    Abdel Jabbar Salem
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   1_      t_l-18?

    2                 This is determined by the regulation
                     A.
    3      that is used by the Detainees and Freed
    4      Affairs.
    5                O.    Do You know whY Abu Wardeh was

    6      imprisoned?
     7               A.    According to the document that I
     8     have, Lhere is nothing to indicate the reason'
     9          A.    Is it Possible -- well-' You
   l_0     test.ified that this document ' 1-a20 through
   l- l-    tL36, is kept as part of the file so that the
   t2      aLtorneys at prisoners' affairs coufd inspect
   13      the document to decide whether the detainee is
   I4       eligible or ineligible; correct?
    t_5           A.   According to mY knowledge' these
    L6      documents are inspected by the general
    L7      administration of Lhe legal department to
    l_8     deLermine whether, according to the
    T9      regulations, the benefits or the allocations
    20      applies or doesn't aPPIY'
    2I           O.    I'm going to represenL to You that
     22      thisdocument,Ll-20through1-t3'7'is'asyou
     23      said, an indictment of Abu Viardeh for the
     24      offense of intentionaf causation of death of'
     25      among other things, in February of 2002'
                                                        iL

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                                      Abdel .fabbar Sal_em
                                        JuIy 27, 2021,
         1                        MR. BERGER:    Security.
         2                        THE W]TNESS:    Security and
         3    they
         4                        THE COURT REpORTER: f'm
         5    sorry, I did not hear the word, or safety and
         6    what ?
         7                        THE WITNESS: political      or
        8    security, and the prisoners' affairs and freed
        9    is the ones who make the decisj_on and mainly
   1_0       the general benefit of the 1egal department who
   11        makes this determination and decision.
   t2                             MR. BERGER: We also think the
   13        transl-ation is criteria,     not regulations.
   1_4       BY MS. MAXMAN:
   l_5            O.    So it's your testimony, Mr. Salem,
   76        that the attorneys at t,he prisonersr affairs
   1-7       department are the individual_s who are
   18        knowledgeabl_e about how and why a determination
   19        is made that Abu Wardeh's beneficiary is
   20        eligible for payment,. am f understanding you
   27        correct.ly?
   22             A.       Within t,he laws and the criteria
  23         that, are used to determine in the prisoners,
  24         affairs.
  25              O.       So you did not talk Lo anybody from


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                                 Abdet Jabbar Salem
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    1-     prisoners' affairs about what the laws and
    z      criteria were in preparing for your deposition
    3      as a corporate designee on behalf of the PLO
    4      and the PA in this matter?
    5           A.      No, I sPoke with the attorneys'
     6          O.      Did you ask them whaL the criteria
     7     were under the laws for becoming eligible       for
     I     payment?

     9          A.      Yes, I did.
   10           O.      What did theY telI   You?

   t- l_        A.    That the prisoner has to be detained
   1"2     under either political- or security, of course '
   i-3          O.    That the prisoner has to be detained
   L4      because of political or security reasons?
   15           A.    Only on security and pcilitical- basis
    L6     the al-locations will be disbursed to his family
    L7     as long as he is still in Prison'
    t_8         a.     So are You saYing that if Mr' Abu
    I9     Wardeh was imprisoned for     shoplifting'   he woufd

    20      not be eligible for a PaYmenL?
    21-          A.     According to mY knowledge and
    22      according to the criteria that is used' he is
    23      not eligible for allocations if it was
    24      shoplifting.
     25          O.        What types of crimes would be

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         i_    question, and I ask that this question has
        z      either a yes or no answer. Can you __
        3                   Are any payments t,o Mr. Abu Wardeh
        4      being made because he committed an act of
        5      terrorism? That's a yes or no question.
        6           A.   No.
        7          O.     Is he in prison for having committed
        I     an act, of terrorism?
        9          A.       No.
   10              O.       What act is he in prison for?
   11                             MR. BERGER: Object,ion, asked
   1_2        and answered. you can answer.
   l_3                            THE WITNESS: He      frm sorry,
   I4         just to clarify -- he entered prison either
   15         because of a security or a political act.
   1_6        BY MS. MAXMAN:
   17              O.       But not an acl of terrorism?
   18              A.      Of course not.
   19              O.      Were any of the payments in any of
   20         the documents t,hat you have turned over to us
   2L         to any of the prisoners or their designee made
   zz         because the person on whose payment is made
   23         on behalf of    the person whose pa)rments are
  24          being made was imprisoned for committing an act
  25          of terrorism?

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   l_            A.         No.

    2             O.    OkaY. How do You know?
    3             A.    Because the act of terror is from

    4        the Israeli point of view' For us' we don'L
    5        consider it, acknowledge it'        rt's either a
    6        polit.ical or a securitY act '
    7            a.     Mr. Salem, Yourre willing to
    I        characterize Mr. Abu Wardeh's acts as political
        9    or security acts; correct?
   1"0            A.    It, is characterized bY the legal
   l-1       departmenL and the prisoners' affairs '
   L2             O.    So but you're saying that the 1egal

   13        department and prisoners' affairs are unwilling
    1"4      to characterize these acts as terrorism?
    L5            A.    Iatre are -- we all d'on't characLertze


    L6       the act as an act of terror' It is categortzed
    1,7      according to the Israel-i side and point of
    L8        view.
    19                0. So if You are willing to
              characterLze it as one thing and unwil-ling
                                                          to
    20

     2L       characterrze it as an act of terrorism' you
        22    must know what it is; correct?
        23                     MR. BERGER: Objection'

        24    argumentative
        25                         THE !{ITNESS: The act of the

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                                        Abdel ,fabbar Sal_em
                                          ,JuIy 27 , 2O2I

         l_    family is either political_ or security, and for
         2     that reason, it is eligib1e to dispense t,he
         3     all-ocations for the family.
         4     BY MS. MAXMAN:
         5          O.    What is the act?
         6          A.    He had an act, I don,t, have the full
         7     details of the act, but according to the
         8     fsrae1i indict,ment, he had an act either
        9      security or political.  For that reason, it      was
   l_0         eligible by the prisoners' affairs to be
   11          eligible for dispensing Lhe aIlocation.
   t2               O.       So you would agree that the payments
   13         were made to him by reason of his imprisonment
   L4         for the acts described in the indictment?
   15               A.    f don't agree. f don,t agree. He
   76         was enti_tled to the al_Location because he
                                                          was
   1-7        in prj-son and not because of the rest of the
   18         indictments.
   L9             O.      But if he were in prison for
   20         shoplifting, you told me he would not be
  2L          e1 igible?

  zz               A.      Definitely    no.
  23               a.      Why nor?
  24               A.      Because the criteria      or the
  25          standards say it has either to be on a security

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    t-    or a political.
    2                        MS. MAXMAN: AII     right.    LeL's

    3     go off the record.
    4                         THE VIDEOGRAPHER: We are off

    5     the record. The time is L5246 UTC time'
    6                    (Discussion hel"d off the
    7     record. )
     I                        THE V]DEOGRAPHER         We are

     9    back on the record.      The time is 15:48 UTC
   10      time.
   tL                         MS. MAXMAN: Mr. Berger?
   1"2                        MR. BERGER: Yes. On behalf

   13      of Defendants, we designate this transcript          as

   L4      confidential- under Paragraph 6 of the
   t-5     Protective Order in this case.
   L6                         MS. MAXMAN: Do You have
   L7      anyt.hing further to add?
   18                         MR. BERGER: I have nothing
    1,9    further.
    20                        MS. MAXMAN: Nor do I.
    2T                        THE VIDEOGRAPHER: We are off

    22     the record at 15:48 UTC time. This concfudes
    23     today's deposition. Thank you, everyone, and
    24     take care.
    25                         (Discussion held off the

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                                    AbdeL ,Jabbar Salem
                                      JuIy 27, 202t
         L   COMMONWEALTH OF PENNSYLVANIA
                                                          SS
        2    COTINTY OF ALLEGHENY

        3                        CERTIFICATE
        4          I, Karen A. Nickel_, a notary public in and
             for the Commonweal_th of pennsylvania, do hereby
        5    certify that the witness, ABDEL ,JABBAR SALEM,
             was by me first duly sworn to testify the
        6    truth, the whol_e truth, and nothing but the
             truth; that the foregoing deposition was taken
        7    at the time and place stated herein; and that
             the said deposition was recorded
     8       stenographically by me and then red.uced to
             typewriting under my direction, and constitutes
     9       a true record of the testimony given by said
             witness.
   t0
                   I further certify that I am not a
   l_1       relative, enrpluyee or att.orney of any of the
             parties, or a reLative or employee oi either
   L2        counsel, and that f am in no way interested
             directly or indirectly in this lction.
   l_3
                  IN WITNESS WHEREOF, I have hereunto set my
   L4        hand and affixed my seal of office this 29th
             day of July 202t.
   15

   1_6       /tir.,L__
                            Karen A. Nickel, Notary public
   1_7                      Registered Professional Reporter
                            Certified Realtime Reporter
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                             Abdel Jabbat Salem Vofume II
                                    JuIy 28, 2021-


        UNITED STATES DISTR]CT COURT
        SOUTHERN D]STRICT OF NEW YORK

        SHABTAI SCOTT SHATSKY, individually  and as
        personal representative of the Estate of
        Keren Shatsky, J. ANNE SHATSKY, individually
        and as personal representative of the Estate
        of Keren Shatsky, TZIPPORA SHATSKY SCHWARZ,
        YOSEPH SHATSKY, SARA SHATSKY TZIMMERMAN,
        MIRIAM SHATSKY, DAV]D RAPHAEL SHATSKY,
        GINNETTE LANDO THALER, individually and as
        personal representative of the Estate of
        Rachel Thaler, LEOR THALER, ZVI THALER,
        ISAAC THALER, HILLEL TRATTNER, RONIT
        TRATTNER, ARON S. TRATTNER, SHELLEY
        TRATTNER, EFRAT TRATTNER, HADASSA DINER,
        YAEL HILLMAN, STEVEN BRAUN, CHANA FRIEDMAN,
        ]LAN FRIEDMAN, MfRIAM FRIEDMAN, YEH]EL
        FRIEDMAN, ZVI FRIEDMAN, ANd BELLA FRIEDMAN,
                                     Plaintiffs,
                       - against -

        THE PALESTINIAN LIBERATION ORGANIZATION
        and THE PALESTINIAN AUTHORITY (a/k/a
        "The Pafestinian Interim SeIf-Government
        Authority" and/or "The Pafestinian National-
        Authority" ) ,
                                     Defendants.
                                                            --------x
         ;;;;        ;;-;;; ;;;;;
                             ** CoNFIDENTIAL **
                CONTINUED REMOTE VIDEOTAPED DEPOSITION OF

                             ABDEL .]ABBAR SALEM

                         wednesday, .TulY 28, 2021


         Reported by ,JEFFREY BENZ, CRR, RMR
         JOB NO . 3661-25


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                                   ,JuIy 28 , 202I

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     4

     5                                  ,July 28, 202L
     6                                  11:35 UTC
     7

     I
     9        Videotaped Deposition of ABDEL ,JABBAR SALEM.
   10    taken remotely, bef ore ,fef f rey BerLz, a Certif ied
   t_L   Real-time Reporter, Regj-stered Merit Reporter and
   1_2   Notary Public of the Stat.e of New york.
   1_3


   L4

   l-5

   L6

   t7
   18

   T9

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                                   'JuIY 28 , 2021-

    1

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         1

         2   APPEARANCES:            (Ctd.)
         3

        4    ALSO PRESENT:
        5         ELIZABETH V. BEZVERKHA, Cohen & Gresser
        6         HADOOR AL AMIRI, Arabic Interpreter

        7         COREY WATNAINA, Videographer

        I
        9

   10

   1'1


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   L4

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    2                                  TNDEX

    3     ABDEL .]ABBAR SALEM

    4          Examination bY:                              Page

    5                     MS. MAXMAN                            138

    5

    7                                  EXHIBITS

     8    Number                       DescriPtion          Page

     9    Exhibit 5         Prisoner salarY statement,      L47
                            beginning with Bates
   10                       number JD 292-T
   11     Exhibit 7         Prisoner Fil-e for Hussam       t47
                            Abdul-Kader Ahmad Halabi,
   t2                       Bates-numbered,ID 1l-90-T
                            Lo t2l4-T
   l_3
          Exhibit I         Prisoner salarY statement       l-5 9
   t4                       for Mohammed Abdel -Basset
                            Awda Haroub, Bates Number
   15                        363 through 364
   t6     Exhibit 9          Fife for Mohammed              t-5 9
                            Abdel-Basset Awda Haroub,
   I7                       Bates Number ,lD 1348
                             through 1367
   18
          Exhibit l-0        Bates Numbers 524 through      L71"
    1_9                      525, allocation statements
                             and Lhe prison records for
    20                       Yahia Muhamad Naif
                             Abdullah Hajj Hamad
    2t
          Exhibit   Ll-      Bates Numbers 1-782 through    L7]-
    22                       1804, Bates Numbers 524
                             through 525, allocation
    23                       statements and the Prison
                             records for Yahia Muhamad
    24                       Naif Abdullah Hajj Hamad
    25


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        2    Number                   Description            Page
        3
             Exhibit 1,2     Bates Numbers 533 to 534,       ]-76
        4                    prisoner file for Alaa
                             Raed Saleh Zughayer
        5
             Exhibit 13      Bates Numbers 1_857 through     177
        6                    l-886, Prisoner File for
                             Al-aa Raed Saleh Zughayer
     7
             Exhibit t4      Bates Numbers 1880 to           L77
     8                       l-886, Prisoner File for
                             Alaa Raed Saleh Zughayer
     9

   1_0       PREVIOUSLY MARKED:

   Ll_       Number                   Description            Page
   t2        Exhibit 3       Palestini-an Law                l-8s
   L3        Exhibit 4       Salary Statement for Abu        138
                             Warda
   l4
   15

   15

   l7
   l_8

   1-9

   20

   2t
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   23

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    L                         Salem - Confidentiaf
    2        of indictment regarding Prisoner Mohammed Abu
    3        Warda. And on that basis' it is taken in
             consideration for the allocation' And it's on
                                                           a
    4

    5        political -- his crime is a political or
    6        security background. Giving a notice that they
    7        don't keeP a coPY.
                                                           of
    I             a. Is it your understanding' on behalf
                                                           is
     9       the Palestinian Authority, that Mr' Abu Warda
   1,0       in prison for the crimes described in the
   l_1       indictment?
   L2              A. Yes, correct, according to the list        of

    L3       indictment from the fsraeli military code '
    L4             O. And Mr. Abu Vilarda's beneficiary
    l_5       receives an alfocation because of his
    1"6       imprisonment for crimes; is that correct?
    L7              A. Because of the presence in prison and
    1_8       the accusations that were accused from the
    L9        fsraeli court.
    20             O. That's Lhe reason he is -- his family
    21"       is receiving t.he allocation?
    zz             A. And, of course' because of the need of
     23       the family, allocation -- of course' because of
        24    the need of the family, the allocaLion are
        z5    dispensed because the family needs it and

                                                                         1-43
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                                          Abdel- .Tabbar SaLem Vo]ume ff
                                                   .Tuly 2g , 202L
          t_
                                        Sal_em -   Confidential_
          2          paper seL of the first             Bat,es range you gave
         3           him. Wetre trying to get the second Bat,es
         4           range you gave him.              1l_90?
         5                   MS. MAXMAN: l_190 to 1,2]-4.
         6                   MR. BERGER: I believe he now has
         7           that.
         I                   MS. MAXMAN:    Okay. Thank you.
         9           a.      I'l-l- direct your attention to, first.,
    1_0        292293 .

    1_1                      Am I       corrcct that this is the
    1-2        allocation pa).ment for Hussam Abdul_Kader Ahmad
   13          Halabi ?
   1_4              A.       yes, correct, according to the
   15          attached documents.
   T6               O.     Okay. Now, turning your att,ention t,o
   1-7         Bates number in Tab             oh, I,m sorry.
   18                     MS. MAXMAN: Mr. Court Report,er, I
   1,9              would like to mark Tab 12 as Exhibit 6.
   20               Sorry. It's housekeeping. And Tab 13 as
  2t                Exhibit 7. f apologize.
  22                     (prisoner salary statement, beginning
  23               with Bates number JD 292_I, was marked
  24               Salem Exhibit 6 for             identification,   as of
  25               this date.       )




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                                        'JulY 28 , 202t

    t_                         Sal-em - Confident.ial

    2                      (Prisoner File for Hussam Abdul--Kader
    3                Ahmad. Halabi, Bates-numbered JD l-190-T
                                                              to

    4                L21,4-T, was marked Salem Exhibit 7 for
    5           identification, as of this date ' )
    6           O. So turning to Exhibit 7' I woufd
     7     direct your attention to Bates number JD l-l-91- '
     8               A.    Yes, matam' Yes'
     9          O.         And am I correct' that Mr' Hal"abi
   l_0     received a life sentence?
   11           A. Correct, according to the document'
   L2      Correct.
   l_3               O.    Have you seen this document before'
    I4     s   ir?
    l-5              A.    Yes. I saw all the documents '
    1,6         O.         And am I correct that this is the
    L7     prisoner file for Mr' Halabi?
    l-8         A. Yes, correcL '
    I9          O. Now I would like to turn Your
    20      attention to Bates number JD 1-201'
     21"         A. Yes.
     22          O. As I read this sLaLemenE' it appears
     23     that Mr. Hal-abi is single, correct?
     24               A.    Yeg, correct'
     25               O.    And the beneficiary of his allocation

                                                                         ].47
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                                  Abdel ,fabbar Sal_em Vo]ume f I
                                          July 29, 202L
         1                      Sal-em - Confidential_
         z    is the prisoner himself, correct?
         3         A. yes, correct.
         4         O. So am f correct that this allocation
         5    to Mr. Halabi is not, made for the benefit of
         6    family outside prison that needs money to l_ive
        7     comfortably?
        8          A.      No. No.
        9         O.       Why not?
   l_0            A.       No, because t,here is some prisoners
   11        who has elderly parents who caunot go to the
   T2        bank to withdraw the money, and they give
   l_3       authorization to withdraw the money and t,o use
   1-4       it to live.     So there are certain prj_soners who
   15        have -- his parents are elderIy or he has
   L6        brothers or sisters who he's. _     -


   1-7            O.      But they're not indicated on the
   18        statement.
   t9                     THE INTERPRETER: Irm sorry, maram.
   20             Can you repeat that.
  21,             a. But they,re not indicaLed on the
  22         statement, correct?
  23              A. yes, correct. Because there are
  24         cert,ain times where their beneficiaries make
  25         authorization to the prisoner himself, to the

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                                 Abdel- ,Jabbar Salem Volume II
                                         JutY 28, 2O2t

    1                           Salem - Confidential

    z      attorneys, or the money got transferred directly
    3      t.o the account/ and it's not necessary for the
    4      names to be present in the documents ' And'
    5      these allocations, goes Lo the beneficiaries'
     6     AndthenamesarenoLstoredintheprisoner's
     7     afliance.
     8                     We have a     (inaudible).
     9                     Never mind    Withdrawn.

   t_0                     MS. MAXMAN    Mr. Berger, I can't hear
   l_ l-          you.
   L2                                  said we had a question
                           MR. BERGER: I
   t-3            about the translation, but it's been sorted
   I4             out.      Thank You.
    t-5           O.Turning to Bates numbers turning Lo
    L6     Bates numbers L205 through :-.2L4 '
    L7              Am I correct, you're looking at those

    t_8    pages that are in Hebrew, correct?
    L9            A.       These pages or documents are in Hebrew
    20      language.
    ZI                O.   And, therefore, am I correct to assume
    22      that You cannot read them?
     23          A. Yes. Correct ' I cannot read it ' Irm
     24     only looking at the page number , 1-205 ' L206 '
     25     ]-207 .

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                                  Abdel- ,fabbar SaLem VoLume ff
                                            July 28, 202j,
         l_                      Salem - Confidential_
         2          O. How do you -- how do you know his
         3     parents are al_ive?
         4          A.   This definitely __ this will be making
         5     sure of by the prisoners A1liance. And ot,her
         6     than Lhat, the money would not have been
        7      transf erred t,o the account.
        8                 This is what the prisoners Alliance
        9     assured me.
   l_0              O.    When you say rprisoners Altiance, n do
   11         you mcan Irrisoners A.tfa.l.r.s?
   L2                     THE INTERPRETER: Sorry.            prisoners
   l_3             Affairs.
   1_4              a. Is it your t,estimony that prisoners
   l_5        Affairs would not continue t,o pay the salary if
   16         he did not, have a family to support,?
   1-7             A.    yes, definitely,      and this is what they
   18         assured me with.
   l_9             O.    So Mr. Halabi is     receiving his salary
   20         because he is imprisoned by the fsraeli
   2t         government. Correct?
  zz               A.    He was in prison, and he was working
  23          as an employee. And he was imprisoned because
  24          of the fsrael government.
  25               O.    And the reason that he is in prison is

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